Case: 1:19-cv-03160 Document #: 43 Filed: 07/23/19 Page 1 of 2 PagelD #:1142

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

TANGLE INC.;
ZURU LLC; and
ZURU INC.,

Case No.: 19-cv-3160

Judge John J. Tharp, Jr.
Plaintiffs,

Vv.

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON
SCHEDULE A HERETO,

Nm ee ee ae ae eS

Defendants.

PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL

 

Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs TANGLE INC., ZURU LLC,
ZURU INC., hereby dismiss with prejudice all causes of action in the complaint against the following Defendants
identified in Schedule A. Each party shall bear its own attorney’s fees and costs.

No. Defendant

2 Jellyfishcross

8 3v9

15 Baginbag2011
30 Great2016

40 jodil61

62 Skyseasontree 1

The respective Defendants have not filed an answer to the complaint or a motion for summary judgment in
this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is appropriate.
Respectfully submitted,

Dated: July 23, 2019 By: s/Michael A. Hierl
Michael A. Hierl (Bar No. 3128021)
William B. Kalbac (Bar No. 6301771)
Hughes Socol Piers Resnick & Dym, Ltd.
Three First National Plaza
70 W. Madison Street, Suite 4000
Chicago, Illinois 60602
(312) 580-0100 Telephone

mhierl@hsplegal.com

Attorneys for Plaintiffs
TANGLE INC.,
ZURU LLC,

ZURU INC.
Case: 1:19-cv-03160 Document #: 43 Filed: 07/23/19 Page 2 of 2 PagelD #:1142

CERTIFICATE OF SERVICE
The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of Voluntary

Dismissal was filed electronically with the Clerk of the Court and served on all counsel of record and interested
parties via the CM/ECF system on July 23, 2019.

s/Michael A. Hierl

 
